Case 2:05-cr-20251-SHI\/| Document 25 Filed 07/19/05 Page 1 of 2 Page|D 28

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Western Division

UNITED STATES OF AMERICA U_EML§§B}§TRU wm
WlD OF TN. MEMPHS
-vs- ' Case No. 2:05cr20251-002Ma

GEORGE ARDS

 

ORDER OF DETENT|ON PEND|NG TR|AL
F|ND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142({`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to wit, the defendant is being held on state charges.

DlRECTIONS REGARD|NG DETENT|ON

GEORGE ARDS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. GEORGE ARDS shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceedingl

/_,_
Dace; July 15, 2005 §§ /AWJ{@L_

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

This docl.ment entered on the docket she 120 llanca
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

